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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                          Case No.: 8:19-bk-06681-CPM
                                                                Chapter 7
Gladys Llano

                DEBTOR                          /


           OBJECTION TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW, Larry Hyman, the Trustee in this case, by and through the undersigned

counsel objects to the relief requested in the Motion for Relief from the Automatic Stay (Dkt. No.

10) (hereinafter the “Motion for Relief”) filed by Creditor Nationstar Mortgage LLC d/b/a Mr.

Cooper (hereinafter “Mr. Cooper”) and in support thereof states as follows:

         1.     Mr. Cooper seeks to lift the stay with regard to a property located at 13408 Sunvale

                Place, Tampa, Florida 33626 (hereinafter “the Property”), to pursue its in rem

                remedies. After some online research, it appears that the Property is a viable asset

                of the estate with a value greater than $264,835.00 and that upon sale could generate

                enough sale proceeds to create a meaningful distribution to the unsecured creditors

                of the estate.

         2.     The Trustee has already identified real estate professionals to help liquidate the

                Property as efficiently as possible and will be filing applications to employ these

                individuals shortly.

         WHEREFORE, the Trustee seeks an order denying Mr. Cooper’s Motion for Relief so that

he may try to sell the Property for the benefit of all interested parties, and for any other relief which

this court deems just.

DATED: September 3, 2019
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                                      /s/ Kelly C. Burke
                                     Richard M. Dauval, Esq.
                                     Kelly C. Burke, Esq.
                                     Attorneys for the Trustee
                                     Leavengood, Dauval, & Boyle, P.A.
                                     3900 1st Street North, Saint Petersburg, FL 33703
                                     rdauval@leavenlaw.com
                                     kburke@leavenlaw.com

                                CERTIFICATE OF SERVICE

       I certify that on September 3, 2019, a true and correct copy of the foregoing was provided
by U.S. mail and/or electronic delivery to: U.S. Trustee, USTPRegion21.TP.ecu@usdoj.gov;
Nationstar, LLC d/b/a Mr. Cooper, c/o Nathalie Rodrigues, Esq., nrodriguez@rasflaw.com

                                      /s/ Kelly C. Burke
                                     Kelly C. Burke, Esq.
